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                   8
                   9                           UNITED STATES DISTRICT COURT
              10                             CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO (FFMx)
              12                                                  Consolidated with Case No. 15-cv-02628-
                                          Plaintiff,              FMO
              13
                                v.                                [DISCOVERY MATTER]
              14
                        VIKTOR KHRAPUNOV, et al.,                 Assigned To: Hon. Fernando M. Olguin
              15                                                  Magistrate Judge: Hon. Frederick F.
                                          Defendants.             Mumm
              16
                                                                  DECLARATION OF JONATHAN M.
              17                                                  JACKSON IN SUPPORT OF JOINT
                                                                  STIPULATION IN RESPONSE TO
              18                                                  THE COURT’S FEBRUARY 12, 2018
                                                                  ORDER
              19
                                                                  Action Filed:   May 13, 2014
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                       US-DOCS\99467564                                 DELCARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES
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                   1                        DECLARATION OF JONATHAN M. JACKSON
                   2            I, Jonathan M. Jackson, have personal knowledge of the facts set forth herein
                   3 and, if called to do so, could and would competently testify thereto.
                   4            1.        I am an attorney licensed to practice law in the State of California. I
                   5 am an associate at Latham & Watkins LLP and am counsel for plaintiff the City of
                   6 Almaty (“Plaintiff”) in this matter.
                   7            2.        I submit this declaration in support of Plaintiff’s portion of the Joint
                   8 Stipulation In Response To The Court’s February 12, 2018 Order.
                   9            3.        On February 22, 2018, my associate Kendall Howes and I met and
              10 conferred with Defendants’ counsel, Lara Kollios, pursuant to the Court’s February
              11 12, 2018 Order (the “Order”). The parties’ respective counsel reside in different
              12 districts and, therefore, met and conferred by telephone.
              13                4.        During that call, we proposed to limit Plaintiff’s discovery requests in
              14 several respects pursuant to the Court’s Order, including (among other things)
              15 narrowing relevant definitions, limiting requests regarding financial transactions to
              16 $50,000 or more, and removing “related parties” from all requests. We also
              17 informed Defendants’ counsel that we likely would seek clarification and/or
              18 reconsideration of certain aspects of the Order that were inconsistent with Judge
              19 Olguin’s Standing Order regarding discovery.
              20                5.        The parties also discussed their respective understanding of the
              21 discovery that they believe is relevant both to personal jurisdiction and to subject
              22 matter jurisdiction. With respect to subject matter jurisdiction, Defendants’
              23 counsel stated that she believes the unlawful acts committed by Defendants in
              24 Kazakhstan are relevant and, therefore, information regarding these unlawful acts
              25 are subject to discovery pursuant to the Order. We explained our belief that
              26 information relating to the validity of Plaintiff’s RICO claim, as well as
              27 information regarding the domestic focus of Defendants’ RICO activities, is
              28 relevant to the issue of subject matter jurisdiction.
                       US-DOCS\99467564                                         DELCARATION OF JONATHAN M. JACKSON
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                   1            6.        During the February 22 meet and confer call, Defendants’ counsel
                   2 rejected Plaintiff’s proposal to narrow the jurisdictional discovery at issue.
                   3 Defendants’ counsel also refused to make any offer or counterproposal regarding
                   4 the discovery that Defendants believed would be appropriate pursuant to the
                   5 Court’s Order, noting that she believed it would “not be appropriate” for
                   6 Defendants to make a proposal during the Court-ordered meet and confer.
                   7 Defendants’ counsel then stated that she would not make any proposal regarding
                   8 discovery unless and until Plaintiff provided another proposal.
                   9            7.        Despite Defendants’ counsel’s refusal to make any discovery proposal
              10 as ordered by the Court, we sent Defendants’ counsel a second proposal by email
              11 on February 28, 2018, further narrowing Plaintiff’s discovery requests pursuant to
              12 the Court’s Order. A true and correct copy of Plaintiff’s second proposal is
              13 attached hereto as Exhibit A.
              14                8.        On March 5, 2018, the date of this filing, at 2:30 pm Plaintiff received
              15 Defendants’ first (and only) discovery proposal. Upon receipt, my office worked
              16 diligently to evaluate the proposal and put together a response as quickly as
              17 possible, resulting in Plaintiff’s third (and final) proposal, which we emailed to
              18 Defendants’ counsel later that evening. A true and correct copy of Plaintiff’s third
              19 proposal is attached hereto as Exhibit B. (For clarity, I note that we emailed this
              20 final proposal to Defendants’ counsel after Defendants had provided us with their
              21 portion of the Joint Stipulation.)
              22                I declare under penalty of perjury under the laws of the United States of
              23 America that the foregoing is true and correct.
              24                Executed in Los Angeles, California on March 5, 2018.
              25                                                       By    /s/ Jonathan M. Jackson
                                                                            Jonathan M. Jackson
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                       US-DOCS\99467564                                        DECLARATION OF JONATHAN M. JACKSON
ATTORNEYS AT LAW
  LOS ANGELES                                                           2
